    Case 4:14-cv-01698 Document 1448 Filed on 08/09/19 in TXSD Page 1 of 7



                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION
KEITH COLE, JACKIE BRANNUM, RICHARD              §
KING, MICHAEL DENTON, FRED WALLACE,              §
and MARVIN RAY YATES, individually and on        §
behalf of those similarly situated,              §           CIVIL ACTION NO.
                                    Plaintiffs,  §              4:14-cv-1698
                                                 §
v.                                               §
                                                 §
BRYAN COLLIER, in his official capacity,         §
ROBERT HERRERA, in his official capacity, and    §
TEXAS DEPARTMENT OF CRIMINAL JUSTICE, §
                                                 §
                                     Defendants. §
    PLAINTIFFS’ EMERGENCY MOTION TO COMPEL DEFENDANT TDCJ TO
                COMPLY WITH SETTLEMENT AGREEMENT

       Defendant Texas Department of Criminal Justice is violating the court-approved

settlement agreement by imprisoning at least 37 members of the settlement class in indoor

apparent temperatures exceeding 88º F. TDCJ has transferred these class members to the

LeBlanc Unit prison in Beaumont – a prison that is purportedly “air conditioned” though, in

reality, indoor apparent temperatures throughout the prison yesterday were over 90º F, and likely

have been for weeks (at least). The Beaumont area is currently under a National Weather Service

Heat Advisory, where apparent temperatures are projected to reach 112º F today,1 and the area

has suffered similar dangerously high apparent temperatures for the past several weeks, and will

likely continue to do so for the foreseeable future. This is a true emergency because TDCJ’s

1
  See Ex. 1, National Weather Service, Heat Advisory: Urgent Weather Message, Aug. 9, 2019
(available                                                                                 at:
https://forecast.weather.gov/showsigwx.php?warnzone=TXZ215&warncounty=TXC245&firewx
zone=TXZ215&local_place1=Beaumont%20TX&product1=Heat+Advisory&lat=30.09&lon=-
94.13#.XU2Mii2ZM2I) (“High heat index values will result in an increased risk of heat-related
illnesses, including heat exhaustion and heat stroke”).

                                               1
       Case 4:14-cv-01698 Document 1448 Filed on 08/09/19 in TXSD Page 2 of 7



proposed solution is to continue violating the settlement agreement during a period where the

dangerously hot temperatures place class members at substantial risk of serious harm. See Doc.

737.

         I.     FACTS: TDCJ IS VIOLATING THE SETTLEMENT AGREEMENT

         The Court-approved settlement agreement requires TDCJ to “provide … all Class and

Subclass members … an air-conditioned housing assignment for the duration of their current

incarceration” where the heat index “shall not exceed 88 degrees.” Doc. 989-4, pp. 9-10

(proposed settlement agreement) & Doc. 1188 (final approval of settlement agreement). TDCJ

may transfer prisoners away from the Pack Unit in order to provide “conditional parole-voted

programs” in “air-conditioned facilities.” Doc. 989-4, p. 12.

         As of today, there are approximately 37 class members imprisoned at TDCJ’s LeBlanc

Unit in Beaumont, at least 27 of whom are also members of the heat-sensitive subclass because

they suffer from a “heat sensitive” medical condition. Ex. 2, Declaration of David James, p. 2;

Doc. 989-4, pp. 7–8. Upon information and belief, the vast majority of these class members were

transferred to the LeBlanc Unit in order for them to attend programming necessary for their early

parole. See Doc. 989-4, p. 12.

         After receiving several complaints regarding indoor temperatures at the LeBlanc Unit

from class members, Class Counsel visited the prison on August 8, 2019. An inspection of each

housing area where class members were housed as of August 7, 2019 took place, where TDCJ’s

deputy director of maintenance measured the temperature and heat index with a device selected

by TDCJ. See Ex. 2, Declaration of David James, p. 2. Every housing area had a heat index

above 88ºF. Id. Fourteen of fifteen housing areas had a heat index above 90ºF, and one housing

area had a heat index above 100ºF. Id. Even the alleged “cooler areas” where TDCJ told the




                                                 2
    Case 4:14-cv-01698 Document 1448 Filed on 08/09/19 in TXSD Page 3 of 7



Court that class members were being moved to (Dorms G and H) as of August 7 had indoor heat

indexes above 88ºF. See id.

              Temperature and Heat Index Inside LeBlanc Unit (Aug. 8, 2019)

                                                                                           Heat
                                                                                         Sensitive
             Dor
Building            Temperature       Heat Index        Time    # of Class                Class
              m
                                                               Members on               Members on
                                                                 8/7/2019                8/7/2019
        1 A                 87.9           97.2        2:37          3                2
        1 B                 85.9           94.5        2:52          3                3
        1 C                 84.5           91.8        3:00          1                1
        2 D                 87.1           94.6        2:20          1                1
        2 E                 85.3           93.2        1:46          7                5
        2 F                 85.6           93.7        2:04          1                1
        3 G                 81.8           87.1       12:54          0                0
        3 G                   83           88.2        4:04          0                0
        3 H                 83.7           90.7        1:11          0                0
        3 H                 84.2           92.3        4:15          0                0
        3 I                 85.3             91        1:32          2                1
        4 J                 87.4           96.8        3:19          4                4
        4 K                 85.1           92.7        3:36          7                6
        4 L                 83.9           91.4        3:51          1                0
        5 N                 87.7          100.2        4:27          2                1
        6 P                 85.8           95.6        4:48          1                0
        6 R                 84.3           89.1        4:40          2                2
Ex. 2, Declaration of David James, pp. 3, 5 (Yellow highlighting indicates locations all class
members were housed as of Aug. 8, 2019; heat indexes in violation of the settlement agreement
noted in bold.)

       Because the LeBlanc Unit is allegedly air conditioned, the windows in the dormitories do

not open, the showers are not cold, and the respite areas are severely underutilized.

       II.     TDCJ HAS MISREPRESENTED CONDITIONS AT THE LEBLANC UNIT

       Beginning on July 18, 2019, class counsel started telling TDCJ’s attorneys that the air

conditioning was not working at the LeBlanc Unit – that an inmate who arrived at the prison

“around July 1, 2019 [reported] the AC has been out the entire time he has been imprisoned


                                                 3
    Case 4:14-cv-01698 Document 1448 Filed on 08/09/19 in TXSD Page 4 of 7



there.” Ex. 3, Email from S. Medlock to TDCJ Counsel re: “Pack Unit Class Action – AC at

LeBlanc Unit Out” (July 18, 2019). In response, TDCJ’s counsel stated “the tempered air system

is and has been operable” and that, while the power was out for one hour due to a utility

problem, “the tempered air system has been functioning properly and has maintained the

temperature just below 85 degrees.” Ex. 4, Email from TDCJ Counsel to S. Medlock (July 18,

2019). In response, class counsel requested temperature logs that would verify this information.

See Ex. 5, Letter from S. Medlock to TDCJ Counsel, July 22, 2019. TDCJ refused to produce

documents that would show the indoor apparent temperatures were actually “just below 85

degrees,” because “there is no requirement [in the settlement agreement] that the staff monitor

the thermostat at the LeBlanc Unit on a daily basis [because] [i]t is a permanently air-

conditioned unit.” Ex. 6, Email from TDCJ Counsel to S. Medlock (Aug. 6, 2019).

       Class counsel visited inmates imprisoned at the LeBlanc Unit on July 19, 2019, and

spoke with several class members who again reported very hot indoor temperatures. Ex. 2,

Declaration of David James. These complaints were reported to TDCJ’s counsel on July 22,

2019. See Ex. 5, Letter from S. Medlock to TDCJ Counsel (July 22, 2019). TDCJ again refused

to produce temperature logs verifying the indoor temperatures, and again insisted that the AC

was operating properly.

       On August 5, 2019, class counsel requested an inspection of the LeBlanc Unit after

receiving “another call from the family of a LeBlanc inmate … claiming that it is still very hot

inside.” Ex. 7, Email from S. Medlock to TDCJ Counsel (Aug. 5, 2019).

       While negotiating the visit protocol, TDCJ’s counsel produced a document purportedly

showing that any maintenance issues “have been resolved within hours.” Ex. 6, Email from

TDCJ Counsel to S. Medlock (Aug. 6, 2019); Ex. 8, “Offender Housing A/C Issues for LeBlanc




                                               4
    Case 4:14-cv-01698 Document 1448 Filed on 08/09/19 in TXSD Page 5 of 7



and Duncan Units.” After the inspection, it is apparent this document is misleading at best, and

patently untrue at worst. Class counsel’s requests to see the actual complaints, grievances, and

work orders related to the reported problems with the air conditioning at the LeBlanc Unit were

again rebuffed.

       Also in the course of negotiating the visit parameters, TDCJ’s counsel represented that,

“At the LeBlanc Unit … the thermostats are mounted at the location of the chillers” and that “the

maintenance employees check the mounted thermostat when they service the systems.” Ex. 6,

Email from TDCJ Counsel to S. Medlock (Aug. 6, 2019). In fact, the “mounted thermostat” is

located inside the air conditioning unit, and cannot be read unless a panel is removed (and, in at

least two cases, the person inspecting the unit actually climbs inside the device – as class counsel

did yesterday). Ex. 2, Declaration of David James, p. 3. This “mounted thermostat” does not

actually measure the temperature – it just tells the air conditioning unit what temperature it

should try to achieve. In fact, during the inspection, one “mounted thermostat” was set at 30ºF,

but the indoor heat index for the building that “chiller” serviced was as high as 97ºF. See id. The

temperature the “thermostat” is set to obviously has no relation to the actual indoor temperature.

       After initially agreeing to hold the inspection on Thursday, August 8, TDCJ attempted to

postpone the inspection – citing an alleged “family emergency” experienced by the LeBlanc

Unit’s warden. Ex. 9, Email from TDCJ Counsel to S. Medlock (Aug. 7, 2019). The Court

ordered the visit go ahead as scheduled after TDCJ refused to simply record the indoor heat

indexes for the four days the visit would be delayed. Yesterday, the warden attended and

supervised the entirety of the inspection. Ex. 2, Declaration of David James.

       In short, since class counsel reported potential problems at the LeBlanc Unit to TDCJ’s

counsel weeks ago, TDCJ has been telling class counsel that indoor apparent temperatures were




                                                 5
    Case 4:14-cv-01698 Document 1448 Filed on 08/09/19 in TXSD Page 6 of 7



“just below 85 degrees” when, in reality, TDCJ was not actually checking the temperatures

inside the dormitories where class members were living – and it would be obvious to anyone

actually inspecting the conditions that the “thermostats” were not reporting the actual indoor

temperatures.

       III.     AN ENFORCEABLE COURT ORDER IS NECESSARY TO IMMEDIATELY PROTECT
                CLASS MEMBERS AND ENSURE COMPLIANCE WITH THE SETTLEMENT
                AGREEMENT

       As of this morning, TDCJ has allegedly decided to return the class members to the air-

conditioned Pack Unit. But it does not intend to accomplish this transfer until “the end of next

week.” Ex. 10, Email from S. Medlock to TDCJ Counsel, Re: Cole v. Collier – Availability for

Emergency Telephone Hearing (Aug. 9, 2019). Because the temperatures inside the LeBlanc

Unit are dangerous right now, and will continue to be dangerous throughout “next week,” this

proposal is not acceptable.2 The Court should order TDCJ to ensure the class members are all

housed in apparent temperatures below 88ºF tonight, and provide an affidavit (supported by

documentation) that it has done so.

       Moreover, given the numerous misrepresentations made by TDCJ throughout the course

of this litigation, and over the past few weeks regarding the current conditions at the LeBlanc

Unit, an enforceable court order is necessary to ensure TDCJ’s compliance even with its own

inadequate proposal.




2
 See Ex. 11, National Weather Service, Extended Forecast for Beaumont, Texas (accessed Aug.
9,   2019)     (available   at:   https://forecast.weather.gov/MapClick.php?lat=30.09&lon=-
94.13#.XU2uky2ZM2I) (“This afternoon: … Heat index values as high as 110.” “Saturday: …
Heat index values as high as 108.” “Sunday: … high near 96.” “Monday: … high near 96.”
“Tuesday: … high near 95.” “Wednesday: … high near 95.” “Thursday: … high near 93.”).

                                               6
    Case 4:14-cv-01698 Document 1448 Filed on 08/09/19 in TXSD Page 7 of 7



       IV.     CONCLUSION

       TDCJ has misrepresented the dangerous conditions at the LeBlanc Unit for weeks, and

has likely been housing class members in dangerous conditions in violation of the settlement

agreement for far longer. Class counsel does not bring these allegations to the Court lightly, and,

unfortunately, sanctions will likely need to be taken up at a later date. But today, emergency

relief is necessary to protect the health and safety of class members immediately due to TDCJ’s

violations of the settlement agreement.

Dated: August 9, 2019.

                                             Respectfully submitted,

                                             Edwards Law
                                             The Haehnel Building
                                             1101 East 11th Street
                                             Austin, Texas 78702
                                                    Tel. 512-623-7727
                                                    Fax. 512-623-7729

                                             By     /s/ Jeff Edwards
                                             JEFF EDWARDS
                                             State Bar No. 24014406
                                             Attorney-in-Charge
                                             Scott Medlock
                                             State Bar No. 24044783
                                             Michael Singley
                                             State Bar No. 00794642
                                             David James
                                             State Bar No. 24092572
                                             Federal ID No. 2496580

                                           ATTORNEYS FOR PLAINTIFFS

                                CERTIFICATE OF SERVICE

       By my signature above, I certify that a true and correct copy of the foregoing has been
served on all counsel of record through the Court’s electronic filing system.

                                             By    /s/ Jeff Edwards
                                             JEFF EDWARDS



                                                7
